                                      UNITED STATES FEDERAL COURT
                                           DISTRICT OF MAINE


DAVID E. MURRAY,                                        )
                                                        )
                             Plaintiff,                 )
                                                        )
v.                                                      )         Case No. 2:15-cv-00484-DBH
                                                        )
WAL-MART STORES, INC. et al.,                           )
WALMART, INC.                                           )
                                                        )
                             Defendants.                )

PLAINTIFFS’ RESPONSE AND OPPOSITION TO DEFENDENTS’ OBJECTION (ECF NO.170)
  TO PLAINTIFF’S MOTION FOR LEAVE TO FILE THIRD AMENDED COMPLAINT (ECF
                                 NO.160)

            David E. Murray, Plaintiff (Pro Se) (“Murray”), hereby responds to and opposes the

Defendants Wal-Mart Stores, Inc. (“Wal-Mart”), objection (ECF No.170) to the Plaintiff’s Motion for

Leave to file Third Amended Complaint (the “Complaint”) (ECF No.160). The Plaintiff (“Murray”)

states as follows:

                                                   INTRODUCTION

           The Defendant’s Preliminary Statement is misleading and factually incorrect, especially

where they state, “Each of the new factual allegations against Wal-Mart in the proposed Third

Amended Complaint could have been presented in the original Complaint or one of the two prior

amended complaints, and Murray has failed to demonstrate any good cause for the substantial

delay in bringing a further amendment at this late juncture.” The Defendants’ opposition relies on

disputed facts and incorrect issues of fact that contradict actual-factual allegations in the Third

Amended Complaint (the “Complaint”). Its statute of limitations defenses should be raised, if at

all, on motion for summary judgement1 and are improperly asserted here. The Plaintiff followed

the Court’s direction from September 19, 2018 Telephonic Conference with the Defendant’s



1   As noted by the Defendant in ECF No. 170 page 2 under Procedural Background, in their opposition document.

                                                              1
Counsel, the Plaintiff did follow the direction from ECF No. 154 (FTR No.154) completing the

Second Amended Complaint as directed by the court and with the documented disputed facts that

the Defendant would not support the Plaintiff adding to the Second Amended Complaint, the

Plaintiff was left with the only other option given by the Court, which was to file a Motion for

Leave to File a Third Amended Complaint that included the proposed Third Amended Complaint

attached as directed. The Plaintiff requests under Federal Rules of Civil Procedures Rule 15(a)(2)

that his Motion for Leave to file the Third Amended Complaint be freely Granted “when justice so

requires” and the Defendants’ Opposition and request for denial be Denied.

                                                      ARGUMENT

       I.       The Federal Rules of Civil Procedure Provide Leave to Amend and The Court Should

                Freely Give Leave When Justice So Requires, The U.S. Court of Appeals for the Third

                Circuit’s West Run2 Decision Provides an Additional Substantive Basis for a Motion

                to Amend Even Up to and on the Eve of Trial:

            The Motion for Leave to file the Third Amended Complaint was filed on September 26,

2018 (ECF No.160) while Discovery was still open and is necessary and justified, the Plaintiff

continues to identify specific evidence of material misrepresentations from his Original Complaint,

his First Amended and [Proposed] Second Amended Complaint, that his previous attorney(s) had

inaccurately documented, not documented and or refused to add to the Plaintiff’s specific

complaints that have been identified while recently researching his Case File Documents and other

document research, as he continue(s) to meet court deadlines, while dealing with his disabilities

including his PTSD, that Wal-Mart did question his two Healthcare Providers3 about during their

depositions, after Wal-Mart has received Neuropsychiatrists, Dr. Gaston Baslet, MD (of Brigham &

Women’s Hospital) diagnoses-progress notes identifying the Plaintiff’s PTSD diagnoses. See U.S.

Court of Appeals for Third Circuit decision in, West Run Student Housing Associates, LLC v.

Huntington National Bank, 7 F. 3d 165 (3d Cir. 2013).



2
    West Run Student Housing Associates, LLC v. Huntington National Bank, 7 F.3d 165 (3d Cir. 2013).
3   Michelle Bolen, LCSW, deposition September 23, 2016 and Dr. Steven Edwards, DO, deposition October 12, 2016.

                                                             2
    II.      The Plaintiff supplied the Defendant with Discovery Documents when requested

             beginning in 2016, with supporting and updated information documented within the

             Third Amended Complaint:

          In reference to the Plaintiff’s different diagnoses by his Healthcare provider(s), the

Defendant was given current copies of Letters, Progress Notes, Diagnoses Notes, Visit Notes that

included his diagnoses of PTSD from Neuropsychiatrist, Dr. Gaston Baslet, MD4 on August 22,

2016 and by LCSW, Michelle Bolen5 on December 13, 2014. After discussing the importance of

amending his complaint to include the diagnoses with Attorney Jouret, he requested that the

Plaintiff request each Healthcare Provider submit a letter, see Exhibit A6, for Attorney Jouret to

utilize in support the Plaintiff’s Second Amended Complaint including all Medical information.

          The Plaintiff sent documented emails dating back to his original Complaint, including an

email to his former counsel on August 28, 2016 to ensure details of the traumatic accident where a

Customer lost their life in Auburn, Me, the retaliation and the impact it has had on the Plaintiff’s

health be documented in his Complaint to include the PTSD. Defendant’s received discovery

documents on September 20, 2016 of the Plaintiff’s Medical Diagnoses of PTSD7 (see ECF No.103)

for reporting violations of unethical and illegal practices including the 2014 death of the customer,

how the Plaintiff watched the video footage and felt her death could have been prevented. Plaintiff

had reported the Public Health and Safety Issue Concerns to an Officer of the Company, while

engaged in protected activities. The audio and video evidence had been in the Defendant’s

possession since June 3, 2016 and that the Defendant’s waited until October 4, 2016 to terminate the

Plaintiff, without any type of investigation8. The jury could make an adverse inference that the




4 Dr. Gaston Baslet, MD’s diagnoses completed at Brigham & Women’s Hospital on August 22, 2016.
5 LCSW, Michelle Bolen’s initial diagnoses completed on December 13, 2014.
6 Exhibit A – Dr. Baslet July 27, 2017 letter and LCSW, Michelle Bolen July 31, 2017 letter for Attorney Jouret pending

amendment of Plaintiff’s Complaint, includes SLACK Communication document from Sunday, August 6th and Tuesday August
8th 2017 from the Plaintiff to Attorney Jouret submitting the requested letters.
7 The Defendant was required to provide the Plaintiff a reasonable accommodation under the Americans with Disabilities Act

(ADA) and the Fair Employment and Housing Act (FEHA) but chose to terminate his employment.
8 Exhibit B - Phil Morris April 27, 2017 30(b)(6) Deposition, pages 39 thru 42 where Morris admits that Wal-Mart did not

complete any type of investigation before terminating the Plaintiff.

                                                            3
Defendants proffered reason for the adverse employment action is merely a pretext for unlawful

intentional discrimination and retaliation.

    III.      The Plaintiff has shown Due Diligence of the Multiple Attempts of Getting His

              Complaints Documented Both Accurately and Timely with his Attorney(s):

           The Plaintiff has never had to represent himself without counsel, and especially acting Pro

Se, (with all of the documented Healthcare and Disability issues including PTSD), in a court case

before, as the Plaintiff continues to learn and become aware of the different Laws, the Plaintiff

continues to review various Documents, the Plaintiff continues to review Discovery and his Case

File Documents the Plaintiff has identified the material misrepresentations that he attempted to

address with the Second Amended Complaint and with the Defendant’s Attorney Ron Schneider to

no avail causing him to have to document and file the Motion for Leave to file the Third Amended

Complaint with the Court.

           In the Plaintiff’s email to his previous attorneys, see Exhibit C9, document evidence and

legal claims to be included in the Plaintiff’s case to date, the Attorney did not include in the

Plaintiff’s Complaint or First Amended Complaint that were consistently brought to his attention

and communicated. Requesting to have evidence and legal claims documented, corrected, them

material misrepresentations and or leaving specific details and specific facts of the First Amended

Complaint was another issue communicated-documented with prior counsel in Exhibit D10 and

Exhibit E11. The Defendant argues on the Plaintiff’s previous counsels’ behalf, (ECF No. 170 pg. 8)

“even a cursory review of the record in this matter plainly demonstrates that Murray’s prior

counsel—a preeminent plaintiffs’ employment attorney—zealously and aggressively advocated on

behalf of Murray at all times, undermining any argument that a conflict of interest somehow

caused counsel to fail to assert some fact or take some action in a timely fashion. One need only

9  Exhibit C - March 5, 2017 at 3:53 PM, Email and attached SOX Word Document, from Plaintiff to Attorneys Webbert and
Brooks, continuing to document evidence and legal claims to be included in the Plaintiff’s case the Plaintiff’s case to date and
concerns.
10 Exhibit D – April 16, 2016 at 10:21 AM, Email thread from Plaintiff to Attorneys including material misrepresentations

documented about Markdown Investigation and addressing material misrepresentations of multiple incorrect dates.
11 Exhibit E – June 24, 2017 at 1:41 PM, Email thread from Plaintiff to Attorney when taking over case, identifying material

misrepresentations and issues with case needing to be addressed and added to Plaintiff’s Complaint.

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read the opening paragraphs of Murray’s original Complaint to know that Murray’s prior counsel

was unrestrained in his zealous advocacy of Murray’s position in this case. “The Defendant would

state this because of its benefit to Wal-Mart at this point in the Plaintiff’s case, to make such

comments-statements without supporting facts as seen in the attached Exhibit(s). The Plaintiff’s

continued attempts to amend his complaint through his previous counsel to no avail, continues to

damage his case against the Defendant to date, to ensure due process one should be able to put

forward a full and complete case with all evidence and legal claims to include continued retaliation

withholding monies being held by the Defendant to date (including the current monies from the

Plaintiff’s 2017 W-2), under the False Claim Act 3730(h), any employee that is retaliated against

because of his or her lawful acts as a whistleblower is entitled to maintain an action for retaliation.

The Plaintiff was engaged in a protected activity and the Defendant knew about those acts and

took an adverse action against the Plaintiff because of these acts.

     IV.      The Defendant Opposition, to Plaintiff’s Motion for Leave to File Third Amended

              Complaint, Spent A Great Deal of Effort and Focus on One Area that has been

              decided by the Court in ECF No.174:

           The Plaintiff wants to ensure that all other aspects of the Plaintiff’s Motion for Leave to File

Third Amended Complaint remains the subject for the current “Motion” (being, ECF No.160).

Including that ECF No.85 was filed by Attorney Stephan Jouret, the Plaintiff’s 2nd attorney who

withdrew12 on November 29, 2017 from Plaintiffs’ case, with an open-pending Motion (ECF No. 85,

the initial Second Amended Complaint with Material Misrepresentations) that he filed unsigned,

on September 29, 2017, which is in violation of Rule 89(a)(2) of The Maine Rules of Civil Procedure

and the Federal Rules of Civil Procedure Rule 11(a).

           The Defendant states the following on page 6 of ECF No.170, “Accordingly, nothing

prevented Murray from making such allegations in either his first or second amended complaint.


12See Exhibit C and Exhibit E, Attorney Jouret was aware of multiple material misrepresentations before joining the Plaintiff’s
case and had access to a complete Dropbox file of his Healthcare Providers, especially is Neuropsychiatrist, Dr. Baslet.
Sarbanes Oxley and Dodd Frank Act were documented with both Attorney Webbert (on May 9, 2017) and Attorney Jouret in
Exhibit E.

                                                              5
Similarly, in paragraphs 53B and 60B, Murray adds a vague reference to an alleged deposit to and

withdrawal from his bank account on January 26, 2017, or well over 20 months ago. See ECF Doc.

160-1, ¶¶ 53B, 60B. Murray offers no explanation for his failure to bring such allegations in the

intervening time, and these undeveloped allegations provide no basis for a claim of any kind against

Wal-Mart in the first instance.” Wal-Mart admits to accessing the Plaintiff’s personal checking

account (without authorization) making a deposit and reversing (as communicated by the

Defendant13) on January 26, 2017.14
         As noted in Wal-Mart’s Opposition to the Plaintiff’s Motion for Leave to file Third

Amended Complaint (ECF No.170 on pg. 8) the Defendant states, “Finally, to the extent Murray is

attempting to assert some sort of intentional misrepresentation claim against Wal-Mart, such a

claim fails on its face. For one, Murray wholly fails to assert such a claim with the specificity

required by Rule 9(b)15.” In fact, the Defendant made their first fraudulent omission when they had

Phil Morris sign their very late interrogatories (Exhibit F)16 on March 10, 2017 and their second

fraudulent omission during the April 27, 2017 30(b)(6) deposition of Phil Morris when Morris

admitted to terminating the Plaintiff in October of 2016 (Exhibit B)17. The Defendant continues their

attempts at suppressing the facts, the truth,18 responding with false representations and

information including their current responses within ECF No.170 throughout including (on

PageID:747 pg.6), “[t]he interview Murray was allegedly required to attend on September 5, 2014,

and reports Murray allegedly made in June of 2014, all of which predated the filing of his original

Complaint.” Each of these are documented and are within the case Discovery Documents (see




13 October 3, 2017 at 12:38 PM email sent by Ron Schneider documenting the monies and of Wal-Mart accessing the
Plaintiff’s Personal Checking Account without Authorization, about 12 months ago.
14 Plaintiff’s previous Attorneys were both aware of the Defendant accessing the Plaintiff’s Personal Checking Account

without Authorization, Mr. Webbert was notified on February 14, 2017 and Mr. Jouret was given a copy of the Plaintiff’s
redacted Bank Statement on multiple occasions.
15 Re: Federal Rules of Civil Procedure Rule 9(b)
16 Exhibit F – March 10, 2017 - Wal-Mart Signed Interrogatories
17 Exhibit B – Phil Morris April 27, 2017 30(b)(6) deposition page(s) 3 thru 10 (pg.6 L25Q. Did you make the decision to fire

David Murray? pg.7 L1 A. I did.)
18 Facts that were provided to Wal-Mart multiple times including all Discovery provided, additional documents provided,

counsel communications and court filings including the termination of Murray by Larry Hosey on October 4, 2016 via email.

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Exhibit G)19 and WM 028289 June 18, 2014 email sent from the Plaintiff to Julie Murphy, Sr. VP

Operations.

        Due to the irreparable documented damage that has been caused to the Plaintiff’s case to

date, it is critical for the Plaintiff’s case that the Court allow the evidence and the legal claims of the

Third Amended Complaint, and that the Plaintiff’s Motion for Leave to File Third Amended

Complaint (ECF No.160) be GRANTED.


                                                             Respectfully submitted,
Dated: October 31, 2018                                      /s/ David E. Murray
                                                             David E. Murray, Plaintiff, Pro Se.
                                                             16 Trail Road
                                                             Casco, Maine 04015
                                                             (207)-627-3209
                                                             demurr11@gmail.com


                                        CERTIFICATE OF SERVICE

         The undersigned certifies that on the date indicated below the foregoing document was
filed electronically with the Clerk of Court using the CM/ECF system; that the same will be sent
electronically to the following counsel at Bernstein Shur, Sawyer and Nelson P.A., counsel for the
Defendant:

Ronald W. Schneider, Jr. rschneider@bersteinshur.com
Amber R. Attalla aattalla@bernsteinshur.com
Eben M. Albert ealbert@bernsteinshur.com


Dated: October 31, 2018
                                                                      /s/ David E. Murray
                                                                     David E. Murray, Plaintiff, Pro Se.
                                                                     16 Trail Road
                                                                     Casco, Maine 04015
                                                                     (207)-627-3209
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19
 Exhibit G – September 5, 2014 Mandatory Meeting for Plaintiff to attend an actual meeting-investigation with Wal-
Mart Global Investigator, Matt Yoes not an “alleged” meeting as the Defendant stated in ECF No. 170.

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